     Case 2:20-cr-00096-RFB-VCF Document 42 Filed 07/16/20 Page 1 of 2



      ERICK M. FERRAN, ESQ.
      Nevada State Bar No. 9554
 2    HITZKE & ASSOCIATES
      2030 E. Flamingo Road, Suite 115
 3    Las Vegas, NV 89119
      Telephone No.: (702) 476-9668
 4    Facsimile No.: (702) 462-2646
      jerranlawoffice@gmail.com
 5    Attorneys for Defendant
 6                            IN THE UNITED STATES DISTRIC COURT
 7                                   FOR THE DISTRICT OF NEVADA
 8                                                   ***
 9    UNITED STATES OF AMERICA,                        CASE NO.: 2:20-cr-00096-RFB-VCF
10
                        Plaintiff,
11
             VS.
12
      ANDRE MARQUISE JENNINGS
13
                        Defendant.
14
15
16                                   SUBSTITUTION OF ATTORNEY

17
18           Defendant, ANDRE MARQUISE JENNINGS, herby substitutes ERICK M. FERRAN

19    ESQ., ofthe law firm ofRITZKE & ASSOCIATES as its attorney ofrecord, in place and instea
20    ofBRJAN J. SMITH, ESQ.
21
22           DATED this \()-t\-\iay of July, 2020.

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                                                           M
                                                           ANDRE�GS

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     Case 2:20-cr-00096-RFB-VCF Document 42 Filed 07/16/20 Page 2 of 2



 1             I, Attorney BRIAN J. SMITH, ESQ., hereby consent to the substitution of ERICK M.
 2
       FERRAN,ESQ. in this matter on behalf of Defendant, ANDRE MARQUISE JENNINGS
 3
              DATED this l{)tfi' day of July,2020.
 4                         1,1-ru
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                                                               - __._-
                                                            By-�    - ..,...4--
                                                                              �-�
                                                                                _� -/--
 6                                                                   BRIAN J. SMITH, ESQ.

 7
              I, ERICK M. FERRAN, ESQ. hereby accept the substitution as the attorney of record for
 8
       Defendant, ANDRE MARQUISE JENNINGS, in this matter. I am duly admitted to practice in
 9
       this District. I further certify that I have been retained by Defendant JENNINGS in this matter.
10
              DATED this 10th day of July, 2020.
11

12

13

14
15                                                                           RRAN,ESQ.
                                                               Nevada State Bar No. 9554
16                                                             RITZKE & ASSOCIATES
                                                               2030 E. Flamingo Road, Suite 115
17                                                             Las Vegas, NV 89119
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18                                                             Facsimile No.: (702) 462-2646
                                                               ferranlawoffice@gmail.com
19                                                             Attorneysfor Defendant

20
                                                            APPROVED:
21
22                       16th day of July, 2020.
              DATED this __
23

24                                                          RICHARD F. BOULWARE, II
                                                            UNITED STATES DISTRICT JUDGE
25
26
27
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                                                        2
